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  7   Attorneys for Defendants
      Bank of America, N.A.;
  8   Deutsche Bank National Trust Company;
      The Bank of New York Mellon; and
  9   The Bank of New York Mellon Trust Company, N.A.
      In Their Capacities as Alleged
 10   Trustees and/or Successor Trustees of
      Specific Trusts Identified in the
 11   Fourth Amended Complaint
 12
                             UNITED STATES DISTRICT COURT
 13                         CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
 14

 15   UNITED STATES, ex rel. SERVE ALL        Case No. 14-cv-00210-TJH-DFM
      HELP ALL, INC. D/B/A NON-PROFIT
 16   ALLIANCE OF CONSUMER                    DEFENDANTS’ REQUEST FOR
      ADVOCATES, et al.,                      JUDICIAL NOTICE IN SUPPORT
 17                                           OF JOINT MOTION TO DISMISS
                  Plaintiffs,                 RELATORS’ FOURTH AMENDED
 18                                           COMPLAINT
      vs.
 19                                           Judge: Honorable Terry J. Hatter
      ACE SECURITIES CORP. HOME
 20   EQUITY LOAN TRUST 2004-FM1 BY           [Motion to Dismiss filed concurrently
      HSBC BANK USA AS TRUSTEE, et            herewith]
 21   al.,
                                              Hearing
 22               Defendants.                 Date: November 21, 2016
                                              Time: UNDER SUBMISSION
 23                                           Place: Courtroom 17
                                              Judge: Hon. Terry J. Hatter, Jr.
 24

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                        DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
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  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that Defendants Bank of America, N.A.
  3   (erroneously sued as “LaSalle Bank Succeeded By Bank of America Trustee”),
  4   Citibank, N.A. (“Citibank”) (erroneously sued as “Citibank Trustee”), HSBC Bank
  5   USA, N.A. (“HSBC”) (erroneously sued as “HSBC Bank USA Trustee”), The Bank
  6   of New York Mellon f/k/a The Bank of New York and The Bank of New York Mellon
  7   Trust Company, N.A. f/k/a The Bank of New York Trust Company, N.A.
  8   (collectively, “BYNM”) (erroneously sued as “Bank of New York Trustee” and “J.P.
  9   Morgan Chase Bank Trustee”), Deutsche Bank National Trust Company, (“DBNTC”)
 10   (erroneously sued as “Deutsche Bank National Trust Company Trustee”), U.S. Bank
 11   National Association (“U.S. Bank”) (erroneously sued as “U.S. Bank Trustee”), and
 12   Wells Fargo Bank, N.A. (“Wells Fargo”) (erroneously sued as “Wells Fargo Bank
 13   Trustee”) (all defendants, collectively, as “Defendants”), in their capacities as alleged
 14   trustees and/or successor trustees of specific residential mortgage-backed securities
 15   (“MBS”) trusts referenced in the Fourth Amended Complaint (the “Complaint”) filed
 16   by Relators Serve All Help All, Inc. d/b/a Non-Profit Alliance of Consumer
 17   Advocates (“SAHA”), Jose Arturo Abad-Vega a/k/a Pepe Abad a/k/a Pepi Abad
 18   (“Abad-Vega), Danny Williams (“Williams”), and Moses Hall (“Hall”) (collectively,
 19   “Relators”), respectfully request that the Court take judicial notice of the documents
 20   listed herein, true and correct copies or excerpts of which are attached hereto, in
 21   support of its concurrently filed Motion to Dismiss Pursuant to Federal Rules of Civil
 22   Procedure 8, 9, 12(b)(1), and 12(b)(6).
 23                                    LEGAL STANDARD
 24         Courts may rely upon matters subject to judicial notice when ruling upon
 25   motions to dismiss. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322
 26   (2007) (When ruling on motions to dismiss, “courts must consider the complaint in its
 27   entirety … in particular, documents incorporated into the complaint by reference, and
 28   matters of which a court may take judicial notice.”); MGIC Indemnity Corp. v.
                                                1
                         DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
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             1   Weisman, 803 F. 2d 500, 504 (9th Cir. 1986) (“On a motion to dismiss, we may take
             2   judicial notice of matters of public record outside the pleadings.”). The Federal Rules
             3   of Evidence permit courts to take judicial notice of matters “capable of accurate and
             4   ready determination by resort to sources whose accuracy cannot reasonably be
             5   questioned,” and direct courts to take judicial notice “if a party requests it and the
             6   court is supplied with the necessary information.” Fed. R. Evid. 201(b)(1), (c)(2).
             7   Under this Rule, the Court may take judicial notice “of documents attached or
             8   incorporated into the complaint,” E.I. du Pont de Nemours and Co. v. Kolon Indus.,
             9   Inc., 637 F.3d 435, 448 (4th Cir. 2011), and under the incorporation by reference
            10   doctrine, a court may “look beyond the pleadings” by taking judicial notice of
            11   “documents whose contents are alleged in a complaint and whose authenticity no
            12   party questions, but which are not physically attached to the [plaintiff’s] pleading.”
            13   Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1160 (9th Cir. 2012).
            14                          REQUEST FOR JUDICIAL NOTICE1
            15         Defendants request that the Court take judicial notice of five categories of
            16   documents, each of which is appropriate for judicial notice.
            17   I.    News Articles And Press Releases
            18         Exhibits 1- 9 are true and correct copies of germane media reports. 2 Media
            19   reports and press releases are subject to judicial notice. See Ritter v. Hughes Aircraft
            20   Co., 58 F.3d 454 (9th Cir. 1995) (holding district court properly took judicial notice of
            21   newspaper article); California ex rel. Bates v. Mortgage Elec. Registration Sys., Inc.,
            22   2:10-CV-01429, 2011 WL 892646, at * 3 (E.D. Cal. Mar. 11, 2011) (taking judicial
            23   notice of news and journal articles to determine subject matter jurisdiction in False
                 1
            24     For the Court’s convenience, some of the Exhibits attached hereto are relevant
                 excerpts of the full documents and/or do not contain all of the original document’s
            25   attachments. In such cases, a link to the full version of the document is also provided.
                 2
            26     The documents that are the subject of this Request for Judicial Notice are
                 representative of a much larger body of media and government reporting concerning
            27   servicer participation in MHA programs. As noted in Defendants’ Joint Motion to
                 Dismiss, by identifying earlier allegations, Defendants do not concede that any such
            28   allegations have any factual basis.

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             1   Claims Act case); Plevy v. Haggerty, 38 F. Supp. 2d 816, 821-822 (C.D. Cal. 1998)
             2   (taking judicial notice of news articles and press releases submitted in support of
             3   motion to dismiss); In re Homestore.com, Inc. Sec. Litig., 347 F. Supp. 2d 814, 817
             4   (C.D. Cal. 2004) (“the court may take judicial notice of press releases”).
             5   • Exhibit 1: David Streitfeld, Rules for Mortgage Servicers are Criticized as
             6         Ineffective, N.Y. TIMES, Apr. 13, 2011, B4
             7   • Exhibit 2: Victoria McGrane, Alan Zibel, and Robin Sidel, Global Finance: Big
             8         Banks Get Foreclosure Orders --- Regulators Detail Steps Lenders Must Take to
             9         Revamp Processes; Fines Are Still to Come, WALL ST. J., Apr. 14, 2011, C3
            10   • Exhibit 3: Julie Schmit & Paul Davidson, Major Banks Told to Review
            11         Foreclosures, USA TODAY, Apr. 14, 2011, B1
            12   • Exhibit 4: Alan Zibel, Regulator: Banks Face Costly Foreclosure Fixes, WALL ST.
            13         J., Apr. 14, 2011
            14   • Exhibit 5: Mary Podmolik, Bank of America, JPMorgan, and Wells Fargo Bank
            15         Cited for Poor Performance on HAMP, CHICAGO TRIBUNE (June 9, 2011)
            16   • Exhibit 6: Nelson D. Schwartz and Julie Creswell, Mortgage Plan Gives Billions to
            17         Homeowners, But with Exceptions, N.Y. TIMES, Feb. 10, 2012, B1
            18   • Exhibit 7: Jessica Silver-Greenberg, Regulators and 13 Banks Complete $9.3
            19         Billion Deal for Foreclosure Relief, N.Y. TIMES, Feb. 28, 2013
            20   • Exhibit 8: Hugh Son, Secret Inside BofA Office CEO Stymied Needy Homeowners,
            21         BLOOMBERG NEWS (Sept. 15, 2013)
            22   • Exhibit 9: Deon Roberts, Watchdog Says Bank of America, JPMorgan have Most
            23         Mortgage Complaints Under TARP, THE CHARLOTTE OBSERVER (Jan. 30, 2014)
            24   II.      Congressional Records
            25            Exhibits 10-17 are excerpts from Congressional hearings, including testimony
            26   and statements supplied to Congress in connection with Congressional hearings.
            27   Courts take judicial notice of documents concerning Congressional proceedings
            28   because such documents are “the types of documents for which the accuracy cannot
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             1   reasonably be questioned.” 321 Studios v. Metro Goldwyn Mayer Studios, Inc., 307 F.
             2   Supp. 2d 1085, 1107 (N.D. Cal. 2004) (taking judicial notice of congressional
             3   testimony); Anschutz Corp. v. Merrill Lynch & Co. Inc., 785 F. Supp. 2d 799, 834
             4   (N.D. Cal. 2011) (same); F.T.C. v. Neovi, Inc., 604 F.3d 1150, 1157 n.5 (9th Cir.
             5   2010) (taking judicial notice of “various congressional documents”).
             6   • Exhibit 10:      Field Hearing Before the Congressional Oversight Panel,
             7      Foreclosure Mitigation Under the Troubled Asset Relief Program (Sept. 24, 2009)
             8      (prepared statement of Edward Golding, Senior Vice President, Economics and
             9      Policy, Freddie Mac)
            10   • Exhibit 11:      Congressional Oversight Panel, April Oversight Report:
            11      Evaluating Progress on TARP Foreclosure Mitigation Programs (Apr. 14, 2010),
            12      available at:
            13      <https://cybercemetery.unt.edu/archive/cop/20110401232823/http://cop.senate.gov
            14      /reports/library/report-041410-cop.cfm>
            15   • Exhibit 12:      Hearing Before the Congressional Oversight Panel, Treasury’s Use
            16      of Private Contractors Under TARP (September 22, 2010) (prepared statement of
            17      Paul Heran, Program Executive, Making Home Affordable - Compliance, Freddie
            18      Mac)
            19   • Exhibit 13:      Congressional Oversight Panel, November Oversight Report:
            20      Examining the Consequences of Mortgage Irregularities for Financial Stability
            21      and Foreclosure Mitigation (Nov. 16, 2010), available at:
            22      <https://cybercemetery.unt.edu/archive/cop/20110401233819/http://cop.senate.gov
            23      /reports/library/report-111610-cop.cfm>
            24   • Exhibit 14:      Hearing Before the House Committee on the Judiciary, Foreclosed
            25      Justice: Causes and Effects of the Foreclosure Crisis (Part I & II, 111th Congress,
            26      2d Sess., at 20 (Dec. 2, 2010) (prepared statement of Phyllis Caldwell, Chief of
            27      Homeownership Preservation Office, Department of Treasury), available at:
            28      <https://judiciary.house.gov/wp-content/uploads/2010/12/Caldwell101202.pdf>
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             1   • Exhibit 15:      Congressional Oversight Panel, December Oversight Report: A
             2      Review of the Treasury’s Foreclosure Prevention Programs (Dec. 14, 2010),
             3      available at:
             4      <https://cybercemetery.unt.edu/archive/cop/20110401232915/http://cop.senate.gov
             5      /reports/library/report-121410-cop.cfm>
             6   • Exhibit 16:      Congressional Oversight Panel, March Oversight Report: The
             7      Final Report of the Congressional Oversight Panel (Mar. 16, 2011), available at:
             8      <https://cybercemetery.unt.edu/archive/cop/20110401223133/http://cop.senate.gov
             9      /reports/library/report-031611-cop.cfm>
            10   • Exhibit 17:      Hearing Before the Senate Committee on Banking, Housing, and
            11      Urban Affairs, TARP Oversight: Evaluating Returns on Taxpayer Investments, S.
            12      Hrg 112-82, 290 (Mar. 17, 2011) (prepared statement of Neil Barofsky, Special
            13      Inspector General of TARP)
            14   III.   Government Publications
            15          a. Government Reports and Press Releases
            16          Exhibits 18-33 are exemplars and excerpts of reports published by federal
            17   agencies and departments, or made available to the public through the websites of
            18   federal agencies and departments. “Government reports and publications,” as well as
            19   information available on government websites, are judicially noticeable. Lemperle v.
            20   Washington Mut. Bank, 10CV1550-MMA POR, 2010 WL 3958729, at *3 (S.D. Cal.
            21   Oct. 7, 2010); Barron v. Reich, 13 F.3d 1370, 1377 (9th Cir. 1994) (recognizing
            22   records and reports of government agencies are “clearly” subject to judicial notice);
            23   Lamle v. City of Santa Monica, CV 04-6355-GHK SH, 2010 WL 3734868, at *5
            24   (C.D. Cal. July 23, 2010) (taking judicial notice of “government agency reports of
            25   public record”).
            26   • Exhibit 18:      U.S. Department of the Treasury, Press Release: Relief for
            27      Responsible Homeowners: Treasury Announces Requirements for the Making
            28      Home Affordable Program (Mar. 4, 2009)
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             1   • Exhibit 19:      Government Accountability Office, Troubled Asset Relief
             2      Program: Treasury Actions Needed to Make the Home Affordable Modification
             3      Program More Transparent and Accountable, GAO-09-837 (July 23, 2009),
             4      available at: <http://www.gao.gov/assets/300/292806.pdf>
             5   • Exhibit 20:      Office of the Special Inspector General for TARP, Quarterly
             6      Report to Congress, (October 21, 2009), available at:
             7      <https://www.sigtarp.gov/Quarterly%20Reports/October2009_Quarterly_Report_t
             8      o_Congress.pdf>
             9   • Exhibit 21:      Government Accountability Office, Home Affordable Modification
            10      Program Continues to Face Implementation Challenges, (March 25, 2010),
            11      available at: <http://www.gao.gov/assets/130/124358.pdf>
            12   • Exhibit 22:      Office of the Special Inspector General for TARP, Factors
            13      Affecting Implementation of the Home Affordable Modification Program (Mar. 25,
            14      2010), available at:
            15      <https://www.sigtarp.gov/Audit%20Reports/Factors_Affecting_Implementation_o
            16      f_the_Home_Affordable_Modification_Program.pdf>
            17   • Exhibit 23:      Government Accountability Office, Troubled Asset Relief
            18      Program: Further Actions Needed to Fully and Equitably Implement Foreclosure
            19      Mitigation Programs, GAO-10-634 (Washington, D.C.: June 24, 2010), available
            20      at: <http://www.gao.gov/new.items/d10634.pdf>
            21   • Exhibit 24:      Government Accountability Office, Troubled Asset Relief
            22      Program: Treasury Continues to Face Implementation Challenges and Data
            23      Weaknesses in Its Making Home Affordable Program, GAO-11-288 (Washington,
            24      D.C.: Mar. 17, 2011), available at: <http://www.gao.gov/assets/320/316715.pdf>
            25   • Exhibit 25:      Fed. Reserve Sys. et al., Interagency Review of Foreclosure
            26      Policies and Practices (Apr. 2011), available at: <https://www.occ.gov/news-
            27      issuances/news-releases/2011/nr-occ-2011-47a.pdf>
            28   • Exhibit 26:      Government Accountability Office, Troubled Asset Relief
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             1      Program: Results of Housing Counselors Survey on Borrowers’ Experiences with
             2      the Home Affordable Modification Program, GAO-11-367R (Washington, D.C.:
             3      May 26, 2011), available at: <http://www.gao.gov/assets/100/97516.pdf>
             4   • Exhibit 27:      Office of the Special Inspector General for TARP, Quarterly
             5      Report to Congress, (January 26, 2012), available at:
             6      <https://www.sigtarp.gov/Quarterly%20Reports/January_26_2012_Report_to_Con
             7      gress.pdf>
             8   • Exhibit 28:      Government Accountability Office, Foreclosure Mitigation:
             9      Agencies Could Improve Effectiveness of Federal Efforts with Additional Data
            10      Collection and Analysis, GAO-12-296 (Washington, D.C.: June 28, 2012),
            11      available at: <http://www.gao.gov/assets/600/592028.pdf>
            12   • Exhibit 29:      Government Accountability Office, Foreclosure Review:
            13      Opportunities Exist to Further Enhance Borrower Outreach Efforts, GAO-12-776
            14      (June 29, 2012), available at: <http://www.gao.gov/assets/600/592059.pdf>
            15   • Exhibit 30:      Government Accountability Office, Troubled Asset Relief
            16      Program: Further Actions Needed to Enhance Assessments and Transparency of
            17      Housing Programs, GAO-12-783 (Washington, D.C.: July 19, 2012), available at:
            18      <http://www.gao.gov/assets/600/592707.pdf>
            19   • Exhibit 31:      Government Accountability Office, Foreclosure Review: Lessons
            20      Learned Could Enhance Continuing Reviews and Activities Under the Amended
            21      Consent Orders, GAO-13-277 (Mar. 26, 2013), available at:
            22      <http://www.gao.gov/assets/660/653327.pdf>
            23   • Exhibit 32:      Office of the Special Inspector General for TARP, Quarterly
            24      Report to Congress, (July 24, 2013), available at:
            25      <https://www.sigtarp.gov/Quarterly%20Reports/July_24_2013_Report_to_Congre
            26      ss.pdf>
            27   • Exhibit 33:      Office of the Special Inspector General for TARP, Quarterly
            28      Report to Congress, (January 29, 2014), available at:
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             1      <https://www.sigtarp.gov/Quarterly%20Reports/January_29_2014_Report_to_Con
             2      gress.pdf>
             3           b. Agency Consent Orders And Agreements
             4           Exhibits 34-38 are exemplars and excerpts of Consent Orders and Agreements
             5   between the Department of Treasury and certain Defendants. As agreements between
             6   the government and certain Defendants, the accuracy of such matters cannot be
             7   questioned, and they are properly judicially noticeable. See Argueta v. J.P. Morgan
             8   Chase, 787 F. Supp. 2d 1099, 1103 (E.D. Cal. 2011); see also Disabled Rights Action
             9   Comm. v. Las Vegas Events, Inc., 375 F.3d 861, 866 n. 1 (9th Cir. 2004) (taking
            10   judicial notice of agreements to which the government was a party); Transmission
            11   Agency of N. Cal. v. Sierra Pac. Power Co., 295 F.3d 918, 924 n. 3 (9th Cir. 2002)
            12   (taking judicial notice of order from a federal agency).
            13   • Exhibit 34:       Financial Agency Agreement for a Homeownership Preservation
            14      Program under the Emergency Economic Stabilization Act of 2008, between the
            15      U.S. Department of the Treasury and Freddie Mac (February 18, 2009), available
            16      at: <https://www.treasury.gov/initiatives/financial-
            17      stability/procurement/faa/Financial_Agency_Agreements/Freddie%20Mac%20Fin
            18      ancial%20Agency%20Agreement.pdf>
            19   • Exhibit 35:       Amended and Restated Commitment to Purchase Financial
            20      Instrument and Servicer Participation Agreement (SPA), BAC Home Loan
            21      Servicing, L.P. and Fannie Mae, (January 25, 2010), available at:
            22      <https://www.treasury.gov/initiatives/financial-stability/TARP-
            23      Programs/housing/mha/Documents_Contracts_Agreements/093010bankofamerica
            24      homeloansSPA(incltransmittal)-r.pdf>
            25   • Exhibit 36:       Consent Orders, Federal Reserve Board, available at:
            26      <https://www.federalreserve.gov/newsevents/press/enforcement/enf20110413a1.pd
            27      f>
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             1      o Consent Order (Bank of America), In re Bank of America Corp., Federal
             2         Reserve Board of Governors, Docket No. 11-029-B-HC (April 13, 2011);
             3      o Consent Order (Citi), In re Bank of America Corp., Federal Reserve Board of
             4         Governors, Docket No. 11-029-B-HC (April 13, 2011);
             5      o Consent Order (US Bank), In re Bank of America Corp., Federal Reserve Board
             6         of Governors, Docket No. 11-029-B-HC (April 13, 2011); and
             7      o Consent Order (Wells Fargo), In re Bank of America Corp., Federal Reserve
             8         Board of Governors, Docket No. 11-029-B-HC (April 13, 2011)
             9   • Exhibit 37:       Consent Orders, Office of the Comptroller of the Currency,
            10      available at: <https://www.occ.gov/news-issuances/news-releases/2011/nr-occ-
            11      2011-47b.pdf >
            12      o Consent Order (Bank of America), In re Bank of America Corp., Comptroller of
            13         the Currency, Docket No. AA-EC-11-12 (April 13, 2011);
            14      o Consent Order (Citi), In re Bank of America Corp., Comptroller of the
            15         Currency, Docket No. AA-EC-11-12 (April 13, 2011);
            16      o Consent Order (US Bank), In re Bank of America Corp., Comptroller of the
            17         Currency, Docket No. AA-EC-11-12 (April 13, 2011); and
            18      o Consent Order (Wells Fargo), In re Bank of America Corp., Comptroller of the
            19         Currency, Docket No. AA-EC-11-12 (April 13, 2011)
            20   • Exhibit 38:       Amendments to Consent Orders, Office of the Comptroller of
            21      Currency, available at: <https://www.occ.gov/static/enforcement-actions/ea2013-
            22      127.pdf>
            23      o Amendment to Consent Order (Bank of America), In re Bank of America, N.A.,
            24         Comptroller of the Currency, AA-EC-11-12 (February 28, 2013);
            25      o Amendment to Consent Order (Citi), In re Bank of America, N.A., Comptroller
            26         of the Currency, AA-EC-11-12 (February 28, 2013);
            27      o Amendment to Consent Order (US Bank), In re Bank of America, N.A.,
            28         Comptroller of the Currency, AA-EC-11-12 (February 28, 2013); and
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             1          Amendment to Consent Order (Wells Fargo), In re Bank of America, N.A.,
             2          Comptroller of the Currency, AA-EC-11-12 (February 28, 2013)
             3          c. Department of Treasury Handbooks, Directives, and Other Guidance
             4          Exhibits 39-61 are exemplars and excerpts of MHA Compensation Matrices,
             5   MHA Directives, MHA Handbooks, and MHA Performance Reports and Servicer
             6   Assessments published by the government and available to the public on the
             7   Department of the Treasury’s website.3 Publicly available Federal Agency
             8   Handbooks, Directives, and Guidelines are judicially noticeable. See Curtis v.
             9   Nationstar Mortgage LLC, No. 14-CV-05167-HRL, 2016 WL 1275599, at *1 (N.D.
            10   Cal. Apr. 1, 2016) (taking judicial notice of three sections of the MHA Program
            11   Handbook); see also Peviani v. Hostess Brands, Inc., 750 F. Supp. 2d 1111, 1116
            12   (C.D. Cal. 2010) (taking notice of an FDA regulatory guideline); Hansen Beverage
            13   Co. v. Innovation Ventures, LLC, No. 08-CV-1166-IEG POR, 2009 WL 6597891, at
            14   *2 (S.D. Cal. Dec. 23, 2009) (explaining that information on government agency
            15   websites is often judicially noticeable).
            16   • Exhibit 39:       Making Home Affordable: Home Affordable Modification
            17       Program, Supplemental Directive 09-01 (April 6, 2009)
            18   • Exhibit 40:       Making Home Affordable Program Handbook for Servicers of
            19       Non-GSE Loans, Version 1.0 (August 8, 2010)
            20   • Exhibit 41:       Making Home Affordable Program Handbook for Servicers of
            21       Non-GSE Loans, Version 2.0 (September 22, 2010)
            22   • Exhibit 42:       Making Home Affordable Program Handbook for Servicers of
            23       Non-GSE Loans, Version 3.0 (December 2, 2010)
            24   • Exhibit 43:       Making Home Affordable Program Handbook for Servicers of
            25       Non-GSE Loans, Version 3.1 (May 2, 2011)
            26
                 3
            27    All MHA Directives, MHA Handbooks, and MHA Performance Reports and
                 Servicer Assessments are available at:
            28   <https://www.hmpadmin.com/portal/programs/guidance.jsp>.

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             1   • Exhibit 44:     Making Home Affordable Program Handbook for Servicers of
             2      Non-GSE Loans, Version 3.2 (June 1, 2011)
             3   • Exhibit 45:     Making Home Affordable: Program Performance Report Through
             4      April 2011 (June 9, 2011)
             5   • Exhibit 46:     Making Home Affordable Compensation Matrix (June 2011)
             6   • Exhibit 47:     Making Home Affordable: Home Affordable Modification
             7      Program, Supplemental Directive 11-06 (July 6, 2011)
             8   • Exhibit 48:     Making Home Affordable: Program Performance Report Through
             9      July 2011 (September 1, 2011)
            10   • Exhibit 49:     Making Home Affordable Program Handbook for Servicers of
            11      Non-GSE Loans, Version 3.3 (September 1, 2011)
            12   • Exhibit 50:     Making Home Affordable Program Handbook for Servicers of
            13      Non-GSE Loans, Version 3.4 (December 15, 2011)
            14   • Exhibit 51:     Making Home Affordable Program Handbook for Servicers of
            15      Non-GSE Loans, Version 4.0 (August 17, 2012)
            16   • Exhibit 52:     Making Home Affordable Program Handbook for Servicers of
            17      Non-GSE Loans, Version 4.1 (December 13, 2012)
            18   • Exhibit 53:     Making Home Affordable Program Handbook for Servicers of
            19      Non-GSE Loans, Version 4.2 (May 1, 2013)
            20   • Exhibit 54:     Making Home Affordable Program Handbook for Servicers of
            21      Non-GSE Loans, Version 4.3 (September 16, 2013)
            22   • Exhibit 55:     Making Home Affordable Program Handbook for Servicers of
            23      Non-GSE Loans, Version 4.4 (March 3, 2014)
            24   • Exhibit 56:     Making Home Affordable: Program Performance Report Through
            25      January 2014 (March 7, 2014)
            26   • Exhibit 57:     Making Home Affordable: Program Performance Report Through
            27      April 2014 (June 13, 2014)
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             1   • Exhibit 58:       Making Home Affordable Program Handbook for Servicers of
             2      Non-GSE Loans, Version 4.5 (June 1, 2015)
             3   • Exhibit 59:       Making Home Affordable: Results by Servicer, Program
             4      Performance Report First Quarter 2015 (June 5, 2015)
             5   • Exhibit 60:       Making Home Affordable Program Handbook for Servicers of
             6      Non-GSE Loans, Version 5.0 (January 6, 2016)
             7   • Exhibit 61:       Making Home Affordable Program Handbook for Servicers of
             8      Non-GSE Loans, Version 5.1 (May 26, 2016)
             9   IV.   Court Filings
            10         Exhibits 62-87 are filings from proceedings in Federal and State Courts and
            11   from the California State Bar Court. Because the accuracy of such records cannot
            12   reasonably be questioned, federal courts routinely take judicial notice of court records
            13   and rulings. See Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6
            14   (9th Cir. 2006) (“We may take judicial notice of court filings and other matters of
            15   public record.”); see also Intri-Plex Techs., Inc. v. Crest Group, Inc., 499 F.3d 1048,
            16   1052 (9th Cir. 2007) (taking judicial notice of state court complaint and pleadings in
            17   related action); United States v. Howard, 381 F.3d 873, 876 n.1 (9th Cir. 2004) (“[A]
            18   court may take judicial notice of court records in another case.”) (citing United States
            19   v. Wilson, 631 F.2d 118, 119 (9th Cir. 1980); No Cost Conference, Inc. v. Windstream
            20   Comm., Inc., 940 F. Supp. 2d 1285, 1296 (“The two court-filed complaints are
            21   properly subject to judicial notice as court records in the instant action and a related
            22   case.”); Cabrera v. Rameriz, No. 1:15-cv-00067-AWI-JLT, 2015 WL 574342, at *1
            23   n.1 (E.D. Cal. Feb. 10, 2015) (taking judicial notice of a complaint in a separate action
            24   and collecting cases); Rosal v. First Federal Bank of California, 671 F.Supp.2d 1111,
            25   1121 (N.D. Cal. 2009) (taking judicial notice of bankruptcy court filings). Similarly,
            26   “decisions and orders that were filed by the State Bar Court and the California
            27   Supreme Court during Plaintiff's disciplinary proceedings” are also judicially
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             1   noticeable. Martin v. State Bar of California, No. C 11-3601 CW, 2012 WL 1225763,
             2   at *2 (N.D. Cal. 2012).
             3   • Exhibit 62:      Dkt. 84 (Third Amended Consolidated Class Action Complaint), In
             4      re Bank of America Home Affordable Modification Program (HAMP) Contract
             5      Litigation, Case No. 10-md-02193 (D. Mass.)
             6   • Exhibit 63:      Dkt. 1 (Complaint), United States, et al., v. Bank of America Corp.
             7      et al., Case No. 12-cv-00361 (D.D.C.), available at:
             8      <http://www.nationalmortgagesettlement.com/settlement-documents>
             9   • Exhibit 64:      Dkt. 10 (Consent Judgment - Citi), United States, et al., v. Bank of
            10      America Corp. et al., Case No. 12-cv-00361 (D.D.C.)
            11   • Exhibit 65:      Dkt. 11 (Consent Judgment – Bank of America), United States, et
            12      al., v. Bank of America Corp. et al., Case No. 12-cv-00361 (D.D.C.)
            13   • Exhibit 66:      Dkt. 14 (Consent Judgment – Wells Fargo), United States, et al., v.
            14      Bank of America Corp. et al., Case No. 12-cv-00361 (D.D.C.)
            15   • Exhibit 67:      Dkt. 1 (Complaint), U.S. ex rel. Mackler v. Bank of America, Case
            16      No. 11-cv-3270 (E.D.N.Y)
            17   • Exhibit 68:      Complaint, Kahlo v. Bank of America, N.A., Case No. 12-cv-
            18      00083 (W.D. Wash.)
            19   • Exhibit 69:      Dkt. 4 (Amended Complaint), Flynn, et al. v. NV Mortgage, Inc.,
            20      et al., Case No. 13-cv-00360 (W.D. Wash.)
            21   • Exhibit 70:      Dkt. 1 (Complaint), Lesniak v. Bank of America, N.A., Case No.
            22      13-cv-04694 (N.D. Ill.)
            23   • Exhibit 71:      Dkt. 1 (Class Action Complaint), Davis v. Bank of America, N.A.,
            24      Case No. 13-cv-02409 (D. Kan.)
            25   • Exhibit 72:      Dkt. 12 (First Amended Class Action Complaint), George v.
            26      Urban Settlement Services, Case No. 13-cv-01819 (D. Colo.)
            27   • Exhibit 73:      Dkt. 1 (Complaint), Deangeles v. Bank of America Corp., Case
            28      No. 13-cv-08637 (N.D. Ill.)
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             1   • Exhibit 74:      Dkt. 1 (Complaint), Jimenez v. Bank of America, N.A., Case No.
             2      13-cv-07221 (E.D.N.Y.)
             3   • Exhibit 75:      Dkt. 1 (Complaint), Kane v. Bank of America, N.A., Case No. 13-
             4      cv-08053 (N.D. Ill.)
             5   • Exhibit 76:      Dkt. 61 (First Amended Complaint), Federal Trade Commission v.
             6      Kutzner, et. al., Case No. SACV-00999 (E.D. Cal.)
             7   • Exhibit 77:      Dkt. 1 (Complaint), Pshevlovzky v. Bank of America, N.A., Case
             8      No. 12-cv-00667 (E.D. Cal.)
             9   • Exhibit 78:      In re Hall, State Bar Court of California, Case No. 11-O-15178
            10      (Stipulation re Facts, Conclusions of Law and Disposition and Order Approving;
            11      Order of Involuntary Inactive Enrollment, filed November 9, 2011)
            12   • Exhibit 79:      Case Summary for Defendant Jose Arturo Abad Vega, People v.
            13      Jose Arturo Abad Vega and Dean Eric Toro, Case No. 11-cf-1447
            14   • Exhibit 80:      Decl. ISO Arrest Warrants, People v. Jose Arturo Abad Vega and
            15      Dean Eric Toro, Case No. 11-cf-1447
            16   • Exhibit 81:      Second Amended Complaint, Williams v. Bank of America, N.A.,
            17      Case No. TC027862
            18   • Exhibit 82:      Order re Plaintiff’s Motion to Vacate, Williams v. Bank of
            19      America, N.A., Case No. TC027862
            20   • Exhibit 83:      Case Summary, Williams v. Bank of America, N.A., Case No.
            21      TC028304
            22   • Exhibit 84:      Decision and Order of Involuntary Inactive Enrollment, In re Vito
            23      Torchia, Jr., State Bar Court No. 13-O-14835
            24   • Exhibit 85:      Dkt. 18, Ex. 1 (State Bar of California Address History Re: Vito
            25      Torchia), Case No. 16-cv-00999
            26   • Exhibit 86:      Request for Dismissal, Williams v. Bank of America, N.A., Case
            27      No. TC028304
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             1   • Exhibit 87:       In re Vito Torchia, Jr., State Bar Court No. 13-O-14835 (April 29,
             2        2016)
             3   V.      Other Publicly-Available Documents
             4           Exhibits 88 and 89 are an excerpt from a Pooling and Servicing Agreement and
             5   an excerpt from the Fannie Mae Single Family 2011 Servicing Guide, both of which
             6   are publicly available and judicially noticeable. The Court may take judicial notice of
             7   the existence and authenticity of publicly available documents that are not reasonably
             8   subject to dispute. Certain Underwriters at Lloyd’s v. Coastal States Mortgage Corp.,
             9   2014 WL 11380937 (S.D. Fla. 2014) (taking judicial notice of a Fannie Mae Single
            10   Family Servicing Guide); see also Peviani v. 750 F. Supp. 2d at 1116 (taking judicial
            11   notice of a publicly-available, nonbinding regulatory guideline). This includes public
            12   records that are maintained by the government, and courts have expressly held that
            13   “SEC filings . . . are judicially noticeable.” Glenbrook Capital Ltd. P’ship v. Kuo, 525
            14   F. Supp. 2d 1130, 1137 (N.D. Cal. 2007); see also In re NAHC, Inc. Sec. Litig., 306
            15   F.3d 1314, 1331 (3d Cir. 2002) (courts may take judicial notice of documents filed
            16   with the SEC); Cannon v. District of Columbia, 717 F.3d 200, 205 n.2 (D.C. Cir.
            17   2013). Additionally, the PSA is referenced in the Fourth Amended Complaint
            18   because it relates to the trust that holds Relator Williams’ loan (Complaint ¶ 59) and
            19   thus is judicially noticeable under the incorporation by reference doctrine. Davis v.
            20   HSBC Bank Nevada, N.A., 691 F.3d 1152, 1160 (9th Cir. 2012); see also NYC
            21   Topanga, LLC v. Bank of America, No. CV 14-09721-AB, 2015 WL 4075844, at *2-3
            22   (C.D. Cal. July 2, 2015) (judicially noticing agreements expressly referenced in
            23   complaint); Olenicoff v. UBS AG, No. SACV 08-1029 AG, 2009 WL 481281, at *3
            24   (C.D. Cal. Feb. 24, 2009) (“The Subscription Agreement is referenced in the FAC,
            25   and the Court may take judicial notice of the agreement under the ‘incorporation by
            26   reference doctrine.’”).
            27   • Exhibit 88:       Pooling and Servicing Agreement, Securitized Asset Backed
            28        Receivables LLC Trust 2005-FR4 (September 1, 2005), available at:
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             1      <https://www.sec.gov/Archives/edgar/data/1339777/000116231805000873/m465p
             2      sa.htm>
             3   • Exhibit 89:       Fannie Mae Single Family 2011 Servicing Guide (June 10, 2011),
             4      available at: <https://www.fanniemae.com/content/guide/svc061011.pdf>
             5                                       CONCLUSION
             6         For the foregoing reasons, Defendants respectfully request that the Court grant
             7   this request, and take judicial notice of Exhibits 1-89 hereto.
             8
                                                           Respectfully submitted,
             9

            10   Dated: September 12, 2016                SIDLEY AUSTIN LLP
            11

            12                                            By: /s/ Anand Singh
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            17                                                  Attorneys for Defendants
                                                                Bank of America, N.A. as alleged
            18                                                  successor trustee to LaSalle Bank
                                                                National Association as trustee, Deutsche
            19                                                  Bank National Trust Company as trustee,
                                                                and The Bank of New York Mellon and
            20                                                  The Bank of New York Mellon Trust
                                                                Company, N.A. as trustee and/or
            21                                                  successor trustee to JP Morgan Chase
                                                                Co. as trustee
            22

            23   Dated: September 12, 2016                MAYER BROWN LLP
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                                    DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
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 1

 2                                          Attorneys for Defendants Citibank, N.A.,
                                            as Trustee, and HSBC Bank USA, N.A.,
 3                                          as Trustee, for Certain Trusts Listed in
                                            the Complaint,
 4
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12                                          National Association as trustee
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28


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             1                                FILER’S ATTESTATION
             2         Pursuant to L.R. 5-4.3.4(a)(2)(i), I, Anand Singh, attest that all other signatories
             3   listed, and on whose behalf this document is submitted, concur in the document’s
             4   content and have authorized its filing and the placement of their electronic signatures
             5   above.
             6                                            By: /s/s Anand Singh
                                                              Anand Singh
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